Case 18-09108-RLM-11              Doc 484        Filed 05/13/19         EOD 05/13/19 09:12:35              Pg 1 of 5



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re:                                                              Chapter 11

USA GYMNASTICS, 1                                                   Case No. 18-09108-RLM-11

                   Debtor.


                 AGREED MOTION TO EXTEND TIME TO FILE AN
         OBJECTION TO THE ADDITIONAL TORT CLAIMANTS COMMITTEE OF
         SEXUAL ABUSE SURVIVORS’ MOTION FOR AN ORDER PURSUANT TO
         BANKRUPTCY RULE 2004 DIRECTING PRODUCTION OF DOCUMENTS
         AND MATERIALS FROM THE UNITED STATES OLYMPIC COMMITTEE

          The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Sexual

Abuse Survivors’ Committee”), appointed in this case under chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”), hereby submits this agreed motion for entry of an order

extending the objection deadline on The Additional Tort Claimants Committee of Sexual Abuse

Survivors’ Motion for an Order Pursuant to Bankruptcy Rule 2004 Directing Production of

Documents and Materials from the United States Olympic Committee (the “2004 Exam Motion”)

[Doc 433] on the following grounds:

          1.      On April 26, 2019, the Sexual Abuse Survivors’ Committee filed the 2004 Exam

Motion requesting entry of an order authorizing the Sexual Abuse Survivors’ Committee to issue

a subpoena (the “Subpoena”), pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure, to the United States Olympic Committee (the “USOC”) compelling the production of

the documents as set forth in the Subpoena.




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11         Doc 484     Filed 05/13/19     EOD 05/13/19 09:12:35         Pg 2 of 5



       2.      The 2004 Exam Motion is currently set for hearing on May 15, 2019 at 1:30 p.m.

(prevailing Eastern time) and the objection deadline is no later than 9:00 a.m. (prevailing Eastern

time) on May 13, 2019. See Order Granting Motion to Shorten Notice on the Additional Tort

Claimants Committee of Sexual Abuse Survivors’ Motion for an Order Pursuant to Bankruptcy

Rule 2004 Directing Production of Documents and Materials from the United States Olympic

Committee [Doc 437].

       3.      Counsel for both the Sexual Abuse Survivors’ Committee and the USOC have

discussed the requested production and need additional time to confer whether an agreement can

be reached as to the requested production. Accordingly, the Sexual Abuse Survivors’ Committee

requests an extension of the objection deadline for the 2004 Exam Motion for only the USOC to

4:00 p.m. (prevailing Eastern time) on May 30, 2019. The Sexual Abuse Survivors’ Committee

is also contemporaneously filing herewith a motion to continue the hearing on the 2004 Exam

Motion to June 3, 2019 at 1:30 p.m. (prevailing Eastern time) or to a date and time as reasonably

soon thereafter that the Court can reschedule the matter on its calendar.

       4.      James I. Stang, counsel for the Sexual Abuse Survivors’ Committee, has

discussed this motion and the motion to continue the hearing with Dianne F. Coffino, counsel for

the USOC, and she has no objections to the requested extension or continuance.

       WHEREFORE, the Sexual Abuse Survivors’ Committee respectfully requests entry of

an order, (i) extending the objection deadline on the 2004 Exam Motion for only the USOC to

May 30, 2019 at 4:00 p.m. (prevailing Eastern time), and (ii) granting such other and further

relief as this Court deems just and proper under the circumstances.




                                                 2
Case 18-09108-RLM-11        Doc 484     Filed 05/13/19      EOD 05/13/19 09:12:35       Pg 3 of 5



                                            Respectfully submitted,
                                            PACHULSKI STANG ZIEHL & JONES LLP
Dated: May 13, 2019                         /s/ James I. Stang
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                                            Counsel for the Sexual Abuse Survivors’ Committee

                                CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2019, a copy of the foregoing Agreed Motion to Extend
Time to File an Objection to The Additional Tort Claimants Committee of Sexual Abuse
Survivors’ Motion for an Order Pursuant to Bankruptcy Rule 2004 Directing Production of
Documents and Materials from the United States Olympic Committee was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

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                                               3
Case 18-09108-RLM-11     Doc 484    Filed 05/13/19   EOD 05/13/19 09:12:35    Pg 4 of 5



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                                          4
Case 18-09108-RLM-11                 Doc 484        Filed 05/13/19           EOD 05/13/19 09:12:35         Pg 5 of 5



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        I further certify that on May 13, 2019, a copy of the foregoing Agreed Motion to Extend
Time to File an Objection to The Additional Tort Claimants Committee of Sexual Abuse
Survivors’ Motion for an Order Pursuant to Bankruptcy Rule 2004 Directing Production of
Documents and Materials from the United States Olympic Committee was served via electronic
mail to the following:
United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                                    /s/ Meredith R. Theisen
                                                                    Meredith R. Theisen
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